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                                    KENNETH CARUSO LAW
                          15 West 72nd Street | New York, NY 10022
                   E: ken.caruso@kennethcarusolaw.com | P: (646) 599-4970

                                        September 20, 2024

Via ECF

Hon. Lewis J. Liman
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

Hon. Alvin K. Hellerstein
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

       Re:     Freeman et al v. Giuliani, 24-cv-06563-AKH, 24-mc-00353-LJL

Dear Judges Liman and Hellerstein:
       I have filed a Notice of Appearance in each of the cases cited above. I will represent Mr.
Giuliani.
       I write now because I believe that these two cases are related. I have only recently
been engaged in these cases, and I have not had time to dig in. However, on the face of the
pleadings and papers, the two cases appear to involve the same parties, and some of the same
property; have factual overlap; may subject the parties to conflicting orders; and may involve
substantial duplication if they remain assigned to two District Judges. See Rule 13(a); Rules for
Division of Business Among District Judges.
        I believe that my adversary agrees that the cases are related. In support of that assertion,
I attach a Statement of Relatedness previously filed by my adversary in the action assigned to
Judge Hellerstein. Freeman et al v. Giuliani, Case No. 24-cv-06563-AKH, ECF 3.
      Accordingly, I respectfully request that the two cases be assigned to one of Your
Honors (in other words, that one of the cases be transferred to the other Judge).
                                      Respectfully Submitted,
                                       /s/ Kenneth A. Caruso
                                         Kenneth A. Caruso
cc:    Counsel of Record
